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                                                                              FILED
                                                                          September 05, 2023
                           UNITED STATES DISTRICT COURT     CLERK, U.S. DISTRICT COURT
                                                           WESTERN DISTRICT OF TEXAS
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                         klw
                                                        BY: ________________________________
                                                                                            DEPUTY




 UNITED STATES OF AMERICA
             Plaintiff                            CRIMINAL NO. A:20-CR-00289-RP

 v                                                SUPERSEDING INDICTMENT

 BENNY DANESHJOU                                  [Ct. 1: 21 U.S.C. §§ 846 & 841 – Conspiracy
             Defendant                            to Manufacture and Distribute Psilocybin
                                                  Mushrooms and other Controlled
                                                  Substances;
                                                  Ct. 2: 21 U.S.C. § 841 & 18 U.S.C. § 2 -
                                                  Aiding and Abetting the Manufacture and
                                                  Distribution of Psilocybin Mushrooms and
                                                  other Controlled Substances;
                                                  Ct. 3: 18 U.S.C. § 1956(h) – Conspiracy to
                                                  Launder Monetary Instruments]



THE GRAND JURY CHARGES:

                                       COUNT ONE
                               [21 U.S.C. §§ 841(a)(l) and 846]

       Beginning in or about April 2019 and continuing until on or about December 3, 2020, in

the Western District of Texas, Defendant,

                                    BENNY DANESHJOU,

did knowingly, intentionally and unlawfully combine, conspire, confederate and agree with

others known and unknown to the Grand Jury to manufacture and distribute a controlled

substance, that is psilocybin mushrooms, a Schedule I Controlled Substance; as well as to

distribute other Controlled Substances.

       In violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(l)(C).




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                                        COUNT TWO
                             [21 U.S.C. §§ 841(a)(l); 18 U.S.C. § 2]

       Beginning in or about April 2019 and continuing until on or about December 3, 2020, in

the Western District of Texas, Defendant,

                                    BENNY DANESHJOU,

did knowingly, intentionally and unlawfully aid and abet the manufacture and distribution of a

controlled substance, that is psilocybin mushrooms, a Schedule I Controlled Substance; as well

as the distribution of other Controlled Substances.

       In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) and 18 U.S.C. § 2.

                                       COUNT THREE
                                     [18 U.S.C. § 1956(h)]

       Beginning in or about April 2019 and continuing until on or about December 3, 2020, in

the Western District of Texas, Defendant,

                                    BENNY DANESHJOU,

and others known and unknown to the Grand Jury, did unlawfully, willfully, and knowingly

combine, conspire, confederate, and agree among themselves and each other to commit

offenses against the United States in violation of 18 U.S.C. § 1956, to wit:

   a. to knowingly conduct and attempt to conduct a financial transaction affecting

       interstate and foreign commerce, which involved the proceeds of a specified

       unlawful activity, that is Conspiracy to Manufacture and Distribute Controlled

       Substances, as alleged in Count One, with the intent to promote the carrying on of

       specified unlawful activity, that is Conspiracy to Manufacture and Distribute

       Controlled Substances, as alleged in Count One, and that while conducting and

       attempting to conduct such financial transaction knew that the property involved in


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       the financial transaction represented the proceeds of some form of unlawful activity

       in violation of 18 U.S.C. § 1956(a)(1)(A)(i); and

   b. to knowingly conduct and attempt to conduct financial transactions affecting interstate

       commerce and foreign commerce, which transactions involved the proceeds of

       specified unlawful activity, that is, Conspiracy to Manufacture and Distribute

       Controlled Substances, as alleged in Count One, knowing that the transactions were

       designed in whole or in part to conceal and disguise the nature, location, source,

       ownership, and control of the proceeds of specified unlawful activity, and that while

       conducting and attempting to conduct such financial transactions, knew that the

       property involved in the financial transactions represented the proceeds of some form

       of unlawful activity, in violation of 18 U.S.C. § 1956(a)(1)(B)(i).

  NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                       [See FED. R. CRIM. P. 32.2]

                I. Controlled Substance Violation and Forfeiture Statute
                [21 U.S.C. §§ 841 & 846, subject to forfeiture pursuant to
                               21 U.S.C. §§ 853(a)(l) & (2)]

       As a result of the criminal violations set forth in Counts One and Two, the United

States of America give notice to the Defendants of its intent to seek the forfeiture of

properties, including the items listed below, upon conviction and as part of sentencing

pursuant to FED. R. CRIM. P. 32.2 and 21

U.S.C. § 853(a)(l) & (2).    Section 853 specifically provides the following:

       Title 21 U.S.C. § 853
              (a) Any person convicted of a violation of this subchapter or subchapter II of
                  this chapter punishable by imprisonment for more than one year shall
                  forfeit to the United States, irrespective of any provision of State law;
                      (1) any property constituting, or derived from, any proceeds the
                      person obtained, directly or indirectly, as the result of such violation;



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                        (2) any of the person’s property used, or intended to be used, in any
                        manner or part, to commit, or to facilitate the commission of, such
                        violation....

                       II. Forfeiture Statutes for Money Laundering
         [18 U.S.C. §1956(h), subject to forfeiture pursuant to 18 U.S.C. § 982(a)(l)]

        As a result of the foregoing criminal violations set forth in Count Three, the United States

gives notice to the Defendants of its intent to seek the forfeiture of properties, including the items

listed below, Defendant shall forfeit all right, title, and interest in said property to the United

States pursuant to FED. R. CRIM. P. 32.2 and 18 U.S.C. § 982(a)(l), which states:

        18 U.S.C. § 982. Criminal Forfeiture
           (a)(l) The court is imposing sentence on a person convicted of an offense in violation
           of sections 1956, 1957, or 1960 of this title, shall order that the person forfeit to the
           United States any property, real or personal, involved in such offense, or any property
           traceable to such property.

                                      III.    Subject Property

This notice of Demand for Forfeiture includes, but is not limited to, the following:

        $ 49,020.00, more or less, in United States Currency

Real Property:
Real Property located and situated at:

        9601 Wier Loop, Austin TX 78736, with all buildings, appurtenances, and
        improvements thereon and any and all surface and sub-surface rights, title, and interests,
        if any and more fully described as:

        Field notes for 2.024 acres of land. More or less, out of the Marcos Thomas survey 509,
        Travis County, Texas said 2.024 acres conveyed to Cindy M. Ellis by Warranty Deed
        recorded in Volume 12828, Page 1592, Real property records, Travis County, Texas; For
        which a more particular description by metes and bounds is as follows:

        BEGINNING at an iron rod found on the west R.O. W. of Wier Loop Road at the S.E.
        corner of said 2.024-acre tract for the S.E. corner hereof; THENCE S45º15’01’’W for a
        distance of 534.24 feet a pipe found for the S.W. corner hereof;
        THENCE N32º 38’37’’W for a distance of 171.67 feet to an iron rod found for the N.W.
        corner hereof;




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